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                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS

MOHAMMADALI M. SHOJA                                   §
                                                       §
                       Plaintiff,                      §
                                                       §
v.                                                     §       CIVIL ACTION NO. 3:18-cv-00369
                                                       §
SECURITY FINANCE CORP OF                               §
SPARTANBURG,                                           §
                                                       §
                       Defendant.                      §

                              ORIGINAL ANSWER
             OF DEFENDANT, SECURITY FINANCE CORP OF SPARTANBURG

       Defendant, Security Finance Corp of Spartanburg, responds to the numbered paragraphs

of Plaintiff’s Complaint utilizing the same numbering as in that Complaint:

       1.      “Unlawful conduct” is denied.

       2.      Causes of action under the TCPA and supplemental jurisdiction are denied.

Jurisdiction is denied as to the state law claim, as there is no viable federal law claim.

       3.      Denied.

       4.      Defendant lacks sufficient knowledge to admit or deny.

       5.      Admitted.

       6.      It is admitted that Defendant’s registered agent is located in Dallas, Texas.

Otherwise, denied as to this Defendant.

       7.      Admitted.

       8.      This Defendant denies that it has taken any actions relevant to this lawsuit.

       9.      Denied as to this Defendant.

       10.     Denied as to this Defendant.

       11.     Defendant lacks sufficient knowledge to admit or deny.

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       12.    Denied that Plaintiff received calls from this Defendant. Based on this

Defendant’s knowledge of the correct party’s phone system, the rest is denied.

       13.    Denied as to this Defendant.

       14.    Denied as to this Defendant.

       15.    Denied as to this Defendant.

       16.    Denied as to this Defendant.

       17.    Denied as to this Defendant.

       18.    Denied as to this Defendant.

       19.    Denied as to this Defendant.

       20.    Denied as to this Defendant.

       21.    Denied that this Defendant engaged in any “conduct.” Otherwise, this Defendant

lacks knowledge sufficient to admit or deny.

       22.    Denied as to this Defendant.

       23.    Denied as to this Defendant.

       24.    Defendant incorporates its responses to paragraphs 1 thru 23.

       25.    Admitted.

       26.    Denied as to this Defendant.

       27.    Denied as to this Defendant.

       28.    This Defendant denies that it placed any calls to Plaintiff for any reason.

       29.    Denied as to this Defendant.

              Defendant denies that the relief requested by Plaintiff under count I is proper.

       30.    Defendant incorporates its responses to paragraphs 1 thru 29.

       31.    Admitted.



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        32.       Denied as to this Defendant.

        33.       Defendant denies there is any “subject debt” that applies to this Defendant.

        34.       Admitted.

        35.       Denied as to this Defendant.

        36.       Denied as to this Defendant.

        37.       Admitted.

        38.       Denied as to this Defendant.

                  Defendant denies that the request for relief under count II of Plaintiff’s Complaint

is proper.

                      AFFIRMATIVE DEFENSES AND SPECIFIC DENIALS

        Each of the following should be considered an affirmative defense, a denial, or both.

Defendant requests that the appropriate burden of proof be applied regardless of where any

matter is stated within this answer.

        39.       This Defendant is not a proper party to this lawsuit. The loan to Plaintiff, the

collection of which the Plaintiff is complaining, was made by Security Finance of Texas LP, a

subsidiary of this Defendant. Statements made throughout this answer limiting responses to this

Defendant should not be construed as any admission as to that allegation by Security Finance of

Texas LP.

        40.       Neither Defendant nor Security Finance of Texas LP uses an auto dialer.

        41.       Plaintiff’s state law claims should be dismissed because there is no federal claim

that is viable.




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       WHEREFORE, this Defendant requests and pleads for judgment in its favor that Plaintiff

take nothing and that all costs be taxed against the Plaintiff. Defendant requests such further

relief to which it may be justly entitled.

                                              Respectfully submitted,



                                              /S/ Kurt Arbuckle___________________________
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                                              Texas Bar No. 01284500
                                              Admissions ID No. 6613
                                              Kurt Arbuckle, P.C.
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                                              Attorney-In-Charge for Defendant

                                   CERTIFICATE OF SERVICE

      I hereby certify that on the 7th day of February 2019, I electronically filed the Original
Answer of Defendant, Security Finance Corp of Spartanburg with the Clerk of Court using the
CM/ECF system which will send notification of such filing to the following:
Nathan C. Colheim, Esq.
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Taxiarchis Hatzidimitriadis, Esq.
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Sulaiman Law Group, Ltd.
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                                              /S/ Kurt Arbuckle __________________________
                                              KURT ARBUCKLE




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